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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION


    THE STATE OF GEORGIA, et al.,

                  Plaintiffs,                               CIVIL ACTION NO.: 1:21-cv-163

           v.

    JOSEPH R. BIDEN, in his official capacity as
    President of the United States, et al.,

                  Defendants.


                                            ORDER

          The Court held a telephonic hearing in this case on December 21, 2021. At that hearing,

the Court sought clarification from the parties regarding Defendants’ Emergency Motion for Stay

Pending Appeal and For Immediate Administrative Stay, (doc. 97), and Defendants’ Unopposed

Motion to Stay Proceedings Pending Appeal, (doc. 102). The Court summarizes the hearing and

rulings on those Motions below.

          First, however, the Court takes the opportunity to emphasize a portion of its December 7,

2021 Order granting Plaintiffs’ motions for a preliminary injunction, (doc. 94). As the Court stated

in that Order, this case is not a dispute over the tragic toll COVID-19 has inflicted on this nation

or the effectiveness of vaccines in stemming the spread of the virus and lessening the risk of severe

illness and death. (See id. at p. 2.) Indeed, as of December 15, 2021, a total of 800,939 COVID-

19 deaths have been reported in the United States. 1 As the American Medical Association stated

in its Amicus Curiae brief, “widespread vaccination is essential to ending the COVID-19 pandemic

and preventing thousands more needless deaths.” (Doc. 86, p. 10.) Particularly given the emerging


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    See COVID Data Tracker Weekly Review, https://www.cdc.gov/coronavirus/2019-ncov/covid-
data/covidview/index.html, last visited December 22, 2021.
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variants of this virus, all evidence before the Court indicates that it is in the best interest of

individuals’ health and the public’s health for those who do not have a legitimate religious or

medical exemption to obtain full vaccination against SARS-CoV-2, the causative agent of COVID-

19. However, this case is not about whether individuals should become vaccinated or even whether

the government, at some level, may mandate that some individuals must become vaccinated.

Rather, as explained in the Court’s prior Order, this case ultimately hinges on the narrow legal

question of whether the statute at issue in this case, the Federal Property and Administrative

Services Act, 40 U.S.C. § 101 et seq. (also known as “the Procurement Act”) authorizes the

President to issue Executive Order 14042. (See doc. 94, pp. 17–23.) For the reasons stated in its

prior Order, the Court has found that Plaintiffs will likely prevail in their claim that it does not. It

is also worth noting that this Court is not the only court grappling with the executive branch’s

statutory authority to issue vaccine mandates. However, many of those cases have involved

different mandates with different proffered statutory bases than the mandate and statute at issue in

this case. See, e.g., In re MCP NO. 165, No. 21-4027 et al., 2021 WL 5989357, at *1 (6th Cir.

Dec. 17, 2021); Florida v. Dep’t of Health and Human Servs, No. 21-14098-JJ, 2021 WL 5768796,

at *1 (11th Cir. Dec. 6, 2021). Those courts, like this Court, have undoubtedly sought to issue

decisions on the questions before them based not on the result the courts desire but rather the result

the law demands.

       During the December 21, 2021 hearing, Defendants withdrew two of the requests contained

in their Emergency Motion for Stay Pending Appeal and For Immediate Administrative Stay, (doc.

97). Specifically, they are no longer requesting that the Court stay its December 7, 2021 Order

granting Plaintiffs’ motions for a preliminary injunction, (doc. 94), pending the completion of their

appeal to the United States Court of Appeals for the Eleventh Circuit. Additionally, Defendants

withdrew their request that the Court narrow the scope of its preliminary injunction to only apply

to their contracts with Plaintiffs (and not to those with non-parties). However, Defendants stood


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by their request for clarification as to “whether the preliminary injuction [sic] bars private

contractors from mutually agreeing to abide by the COVID-19 workplace safeguards and whether

the injunction also bars enforcement of the masking and physical distancing protocols set forth in

the Safer Federal Workforce Task Force Guidance.” (Doc. 97, p. 2.) The parties agreed to a

briefing schedule on that remaining request. As to Defendants’ Unopposed Motion to Stay

Proceedings Pending Appeal, (doc. 102), the parties agreed that all deadlines in this case, other

than the deadlines to brief the aforementioned request for clarification, should be stayed while this

case is on appeal.

         In accordance with Defendants’ representations at the hearing, the Court hereby DENIES

IN PART AND RESERVES RULING IN PART as to Defendants’ Emergency Motion for Stay

Pending Appeal and For Immediate Administrative Stay, (doc. 97). The Court DENIES AS

WITHDRAWN Defendants’ requests to stay the Court’s preliminary injunction pending appeal

and to narrow the scope of the preliminary injunction, and the Court RESERVES RULING on

Defendants’ request for clarification. Pursuant to the parties’ agreement, Plaintiffs shall respond

to Defendants’ request for clarification on or before January 7, 2022, and Defendants shall file

any reply brief on or before January 14, 2022. The Court GRANTS Defendants’ Unopposed

Motion to Stay Proceedings Pending Appeal, (doc. 102). Except as to the aforementioned request

for clarification, all deadlines and proceedings in this case are STAYED until further order of the

Court.

         SO ORDERED, this 23rd day of December, 2021.




                                       R. STAN BAKER
                                       UNITED STATES DISTRICT JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA



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